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Sentences Organized by Number of Counts Alleged Against each Defendant
Number of Counts            Defendant                   Sentence in Months
2                           Darren Thurston             37
3                           Jonathan Paul               51
4                           Kendall Tankersley          41
4                           Rebecca Rubin               60


17                          Suzanne Savoie              51
18                          Daniel McGowan              84
20                          Chelsea Gerlach             108
51                          Nathan Block                92
51                          Joyanna Zacher              92
58                          Stanislas Meyerhoff         156
59                          Kevin Tubbs                 151




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